            Case 1:21-cr-00032-DLF Document 68 Filed 12/01/21 Page 1 of 5




             United States District Court for the District of Columbia

United States of America                        *

       v.                                       *        No. 1:21-CR-00032-DLF-1

Guy Wesley Reffitt                              *


 Objection and Opposition to Motion in Limine to Permit Government to
Elicit Lay Opinion Testimony about Firearm Holster from an Experienced
                       Firearms Trainer at the FBI

       Mr. Reffitt objects to and opposes allowing the government to have its Agent

Hightower testify: i) that in his lay opinion firearm holsters shown in different

government exhibits are the same one (Doc. 48 at 1); and ii) that in his lay opinion

the defendant was “wearing a holster (and thus likely a firearm)” as the government

alleges (Id. at 3, 4; see also Doc’s 25, 34).


       Lay opinion testimony is not helpful to the jury, when the opinion is one that

the witness is in no better position to render than the jurors themselves. United

States v. Garcia-Ortiz, 528 F.3d 74, 79–80 (1st Cir. 2008) (holding that opinion of

agent that defendant resembled photograph used in identification was wrongly

admitted, because the jury was perfectly capable of drawing its own conclusion).


       Lay opinion testimony should not usurp the fact-finding role of the jury.

United States v. Garcia, 413 F.3d 201, 210–11 (2d Cir. 2005); United States v.

Grinage, 390 F.3d 746, 750–51 (2d Cir. 2004) (holding that agent’s interpretation of

wiretapped phone calls was unhelpful to jury). Law enforcement officers may not rely
         Case 1:21-cr-00032-DLF Document 68 Filed 12/01/21 Page 2 of 5




on the totality of information gathered in the course of the investigation to opine that

the defendant is guilty. Garcia at 211–12.


      A party may not circumvent the heightened standard and notice requirements

of Rule 702 (expert testimony) by offering as a lay opinion testimony that should be

properly qualified as expert testimony. United States v. Oriedo, 498 F.3d 593, 602–

03 (7th Cir. 2007) (DEA agent’s testimony about how crack cocaine is typically

packaged was expert testimony impermissibly cloaked as lay opinion); Garcia, 413

F.3d at 215 (testimony about roles in drug conspiracy erroneously admitted as lay

opinion where witness’ reasoning was partially based on his specialized training and

experience as a narcotics officer); United States v. Glenn, 312 F.3d 58, 67 (2d Cir.

2002) (drug dealer’s testimony that bulge in clothing viewed from five or six houses

away was inadmissible expert testimony improperly admitted as lay opinion).


      Federal Rule of Evidence 701 governs lay witness opinion testimony. Rule

701(c) provides that such testimony may not be “based on scientific, technical or other

specialized knowledge within the scope of Rule 702.” See Fed. R. Evid. 702. On the

same page where the government quotes Rule 701, it concedes that Agent

Hightower’s testimony will be based on his own perception and experience[,]” and

Agent Hightower “is an experienced firearms trainer at the FBI….” (emphasis

added) Doc. 48 at 1.


      Laypeople may give opinions which are otherwise difficult to describe factually,

such as size, degrees of darkness, speed, distance, and whether a person appeared

sad or angry and the like. Advisory Committee Notes to 2000 Amendment to Rule


                                           2
         Case 1:21-cr-00032-DLF Document 68 Filed 12/01/21 Page 3 of 5




701, citing Asplundh Mfg. Div. v. Boston Harbor Eng’g, 57 F. 3d 1190, 1196 (3rd Cir.

1995). At the same time, Rule 701 prohibits parties from proffering an expert cloaked

as a lay witness to undercut the expert discovery and disclosure process prescribed

by Rule 702. Advisory Committee Notes to 2000 Amendment to Rule 701, citing

United States v. Figueroa-Lopez, 125 F.3d 1241, 1246 (9th Cir.1997) (law enforcement

agent’s testimony that defendant’s conduct was consistent with that of drug trafficker

would subvert the requirements of Federal Rule of Criminal Procedure 16); United

States v. Hampton, 718 F.3d 978, 981–982 (D.C. Cir. 2013) (FBI agent’s lay

interpretation and opinion of calls in non-coded language was plain error).


      Opinion testimony that not only informs the jury what the evidence is, but

what inferences to draw from it essentially tells the jury what result to reach and

obviates the need for a jury. United States v. (Yuri) Garcia, 413 F. 3d 201, 214–16

(2nd Cir. 2005) (agent’s lay opinion that Garcia was partner receiving cocaine

essentially told jury that agent had concluded Garcia was guilty as charged, and

improper under Rules 701 and 702).


      United States v. Williams involved the erroneous admission of lay testimony

by an agent that resulted in reversal of Williams’ conviction. 827 F.3d 1134 (D.C. Cir.

2016). “[K]nowledge derived from previous professional experience falls squarely

‘within the scope of Rule 702’ and thus by definition outside of Rule 701.” Williams

at 1156, quoting United States v. Smith, 640 F.3d 358, 365 (D.C. Cir. 2011) (quoting

Fed. R. Evid. 701(c)).




                                          3
         Case 1:21-cr-00032-DLF Document 68 Filed 12/01/21 Page 4 of 5




      The D.C. Circuit has expressed concerns with “the Government’s use of

overview and summary witnesses to anticipate or interpret evidence for the jury[.]”

Williams, 827 F.3d at 1156; Hampton, 718 F.3d at 983; United States v. Moore, 651

F.3d 30, 57 (D.C. Cir. 2011).


      Likewise, expert testimony is not allowed on whether a defendant in a criminal

case had a mental state or condition that constitutes an element of the crime charged.

Fed. R. Evid. 704(b). Such ultimate issues are matters for the jury. The Rule

restrains the admission of opinions that essentially tell the jury what result to reach.

See United States v. Scop, 846 F. 2d 135, 140–142 (2nd Cir. 1988) (expert testimony

on ultimate factual conclusions that if believed are dispositive of particular issues

should be precluded); Advisory Committee Notes to Rule 704. A Rule 704(b) inquiry

should not elevate form over substance. United States v. Smart, 98 F.3d 1379, 1387–

89 (D.C. Cir. 1996). Even though the testifying expert does not say “intent” or

“intended,” the effect is the same. Ibid.


      Jurors rely unduly on a law enforcement officer’s expert testimony. Ibid. Even

if the agent does not testify explicitly to the elements, including the mens rea, the

elements would almost certainly be associated in the jurors’ minds with the statutory

elements of the alleged crime, including the element of intent. The proposed jury

instructions for this case refer to intent and knowledge. See Doc. 65 at 4, 6–8, 10, 12,

13.




                                            4
        Case 1:21-cr-00032-DLF Document 68 Filed 12/01/21 Page 5 of 5




                                          /s/ William         L. Welch, III
                                          William L. Welch, III
                                          D.C. Bar No. 447886
                                          wlw@wwelchattorney.com
                                          5305 Village Center Drive, Suite 142
                                          Columbia, Maryland 21044
                                          Telephone: (410) 615-7186
                                          Facsimile: (410) 630-7760
                                          Counsel for Guy Wesley Reffitt
                                          (Appointed by this Court)

                              Certificate of Service

      I hereby certify that on this 1st day of December 2021, a copy of the foregoing

Objection and Opposition to Motion in Limine to Permit Government to Elicit Lay

Opinion Testimony was delivered electronically to Mr. Jeffrey S. Nestler

(jeffrey.nestler@usdoj.gov) and Ms. Risa Berkower (risa.berkower@usdoj.gov), Office

of the United States Attorney, 555 Fourth Street, NW, Washington, DC 20530.


                                          /s/ William         L. Welch, III
                                          William L. Welch, III




                                         5
